UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

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Attorney(s) for Debtor

In Re: Case No.: 23-11985 (CMG)

Dolwyn J. Underwood, Jr. Judge: Christine M. Gravelle
Chapter: 13

CHAPTER 13 DEBTOR'S CERTIFICATION IN OPPOSITION

The debtor in this case opposes the following (choose one):

1.

Motion for Relief from the Automatic Stay filed by Wells Fargo Bank NA

creditor,

A hearing has been scheduled for March 6, 2024 ,at 9:00am .

L] Motion to Dismiss filed by the Chapter 13 Trustee.

A hearing has been scheduled for , at

L] Certification of Default filed by

I am requesting a hearing be scheduled on this matter.

I oppose the above matter for the following reasons (choose one):

L] Payments have been made in the amount of $ , but have not

been accounted for. Documentation in support is attached.
L] Payments have not been made for the following reasons and debtor proposes

repayment as follows (explain your answer):

Other (explain your answer):

Debtor proposes an immediate payment of $1,121.17; Debtor proposes that the
balance of arrears be paid through the Plan; Debtor will resume regular monthly
payments April 2024

3. This certification is being made in an effort to resolve the issues raised in the certification

of default or motion.

4. I certify under penalty of perjury that the above is true.
Date: February 24. 2024 /s/ Dolwyn J. Underwood, Jr.
Debtor's Signature
Date:
Debtor's Signature

NOTES:

1. Under D.N.J. LBR 4001-1(b)(1), this form must be filed with the court and served on the Chapter
13 Trustee and creditor, if applicable not later than 7 days before the date of the hearing if filed in
opposition to a Motion for Relief from the Automatic Stay or Chapter 13 Trustee’s Motion to
Dismiss.

2. Under D.N.J. 4001-1 (b)(2), this form must be filed with the court and served on the Chapter 13
Trustee and creditor, if applicable not later than 14 days after the filing of a Certification of
Default.

rev.8/I/15
